      Case 2:23-cv-05664-HDV-MAR Document 60 Filed 03/21/24 Page 1 of 59 Page ID #:430


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                    8
                    9
               10       Attorneys for Plaintiff
                        TRADER JOE’S COMPANY
               11
               12                          UNITED STATES DISTRICT COURT
               13                         CENTRAL DISTRICT OF CALIFORNIA
               14
               15       TRADER JOE’S COMPANY, a California Case No. 2:23-cv-05664-HDV-MARx
                        corporation,
               16                                          DECLARATION OF JESSICA
                                     Plaintiff,            STEBBINS BINA IN SUPPORT OF
               17                                          PLAINTIFF TRADER JOE’S
                              v.                           COMPANY’S OPPOSITION TO
               18                                          DEFENDANT TRADER JOE’S
               19       TRADER JOE’S UNITED,               UNITED’S MOTION FOR
                                                           ATTORNEYS’ FEES
               20                    Defendant.
                                                           Hon. Hernán D. Vera
               21                                          Date: April 11, 2024
               22                                          Ctrm: 5B
                                                           Time: 10:00 a.m.
               23
                                                                    Complaint Filed: July 13, 2023
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ATTOR NEYS AT LAW                                                   BINA DECL. ISO OPP. TO MOT. FOR FEES
                                                                         CASE NO. 2:23-cv-05664-HDV-MARx
      Case 2:23-cv-05664-HDV-MAR Document 60 Filed 03/21/24 Page 2 of 59 Page ID #:431


                    1         I, Jessica Stebbins Bina, declare as follows:
                    2         1.    I am an attorney licensed to practice law in California, a partner at
                    3 Latham & Watkins LLP, and counsel for plaintiff Trader Joe’s Company (“Trader
                    4 Joe’s”) in this case. I have personal knowledge of the facts set forth below, and if
                    5 called upon, I can and will testify competently to them.
                    6         2.    I am submitting this declaration in support of Trader Joe’s opposition
                    7 to Trader Joe’s United’s motion for attorneys’ fees.
                    8         3.    In addition to its core grocery products and retail services, Trader
                    9 Joe’s creates additional branded products for use in-store and at events. Trader
               10 Joe’s offers these branded products to support and strengthen its brand, as these
               11 products bear the TRADER JOE’S marks and are offered and distributed in
               12 connection with Trader Joe’s core products and services.
               13             4.    For example, Trader Joe’s created branded pins in connection with the
               14 2023 Rose Parade. The pins bear the TRADER JOE’S mark and feature other
               15 designs such as garden gnomes, teapots, and circus tents. Moreover, while Trader
               16 Joe’s does not sell coffee mugs, it does sell coffee, tea, and cocoa, “mug hanger”
               17 cookies that sit atop mugs, “mug mix” hot chocolate, and hot cocoa stirring spoons
               18 emblazoned with mug designs.
               19             5.    Attached as Exhibits 1-11 are public webpages reflecting a sample of
               20 these branded items that Trader Joe’s creates and distributes in connection with its
               21 core products and services.
               22             6.    Attached as Exhibit 12 is a true and correct copy of the website
               23 located at www.nytimes.com/2024/03/05/style/trader-joes-mini-tote.html as of
               24 March 21, 2024.
               25
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                                                                      BINA DECL. ISO OPP. TO MOT. FOR FEES
ATTOR NEYS AT LAW
                                                                  1        CASE NO. 2:23-cv-05664-HDV-MARx
      Case 2:23-cv-05664-HDV-MAR Document 60 Filed 03/21/24 Page 3 of 59 Page ID #:432


                    1        7.    Attached as Exhibit 13 is a true and correct copy of the website
                    2 located at www.twitter.com/TraderJoesUnite/status/1672280062777864201 as of
                    3 March 21, 2024.
                    4        I declare under penalty of perjury that the foregoing is true and correct.
                    5
                    6 Executed on March 21, 2024 in Los Angeles, California.
                    7
                    8
                    9
               10
               11                                                     /s/ Jessica Stebbins Bina
               12                                                     Jessica Stebbins Bina

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ATTOR NEYS AT LAW
                                                                  2        CASE NO. 2:23-cv-05664-HDV-MARx
Case 2:23-cv-05664-HDV-MAR Document 60 Filed 03/21/24 Page 4 of 59 Page ID #:433




                            Exhibit 1
Case 2:23-cv-05664-HDV-MAR Document 60 Filed 03/21/24 Page 5 of 59 Page ID #:434




                                                                                A Page Vault
     Document title:                  Trader Joe's Autumn Sticker Roll 2023 Pumpkin Spice 7 Designs | Mercari

     Capture URL:                     https://www.mercari.com/us/item/m62287720606/?ref=brand_detail

     Page loaded at (UTC):            Sun, 17 Mar 2024 16:30:12 GMT

     Capture timestamp (UTC):         Sun, 17 Mar 2024 16:30:49 GMT

     Capture tool:                    10.44.1

     Collection server IP:            54.157.181.49

     Browser engine:                  Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like
                                      Gecko) Chrome/120.0.6099.276 Safari/537.36

     Operating system:                Windows_NT (Node 18.18.2)

     PDF length:                      6

     Capture ID:                      3V15sQk9AEdoujtRL4azHA

     User:                            lw-apasillas




                             PDF REFERENCE #:            u8tJETg9Nd3qyVkAu1bpfi


                                                                                                                Exhibit 1
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Case 2:23-cv-05664-HDV-MAR Document 60 Filed 03/21/24 Page 6 of 59 Page ID #:435




          MERCAR            i          Search for anything                                                  Q                   fl Get $50                Signup        Login        OY        DW


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          Mercari / Trader Joe’S / Toys & Collectibles / Arts & Crafts / Stickers / Trader Joe's Autumn Sticker Roll 2023 Pumpkin Spice 7 Designs


                                                                                                                                   Updated 03/09/24


                                                                                                                                   Trader Joe’s Autumn Sticker Roll
                                                                                                                                   2023 Pumpkin Spice 7 Designs
                                                                                                                                   $28.00
                                                                                                                                    + $4.99 delivery fee



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          Comments



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                                                                                                                                   Condition              Good

                                                                                                                                   Brand                  Trader Joe'S

                                                                                                                                   Category               Toys Collectibles
                                                                                                                                                                &           Arts
                                                                                                                                                                              & Crafts Stickers
                                                                                                                                                          Trader Joe'S Stickers
                                                      No comments...yet
                                                                                                                                   Posted                 03/09/24
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                                                                                                                                   Tags

                                                                                                                                        #stickers (78K)       #autumn (20K)               #pumpkinspice (3K)

            Add your comment
                                                                                                                                   Description
                                                                                                                                   Trader Joe's Autumn Sticker Roll 2023 Pumpkin Spice 7 Designs



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     Document title: Trader Joe&#39;s Autumn Sticker Roll 2023 Pumpkin Spice 7 Designs | Mercari
     Capture URL: https://www.mercari.com/us/item/m62287720606/?ref=brand_detail
     Capture timestamp (UTC): Sun, 17 Mar 2024 16:30:49 GMT                                                                                                                                                    Page 1 of 5




                                                                                                                                                                                                        Exhibit 1
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Case 2:23-cv-05664-HDV-MAR Document 60 Filed 03/21/24 Page 7 of 59 Page ID #:436




                            Exhibit 2
Case 2:23-cv-05664-HDV-MAR Document 60 Filed 03/21/24 Page 8 of 59 Page ID #:437


                                                                             A Page Vault
  Document title:                  Trader Joe's Halloween Sticker Roll 2023 Ghost Witch Hat Skull Eye Cauldron |
                                   Mercari

  Capture URL:                     https://www.mercari.com/us/item/m27804595173/?ref=brand_detail

  Page loaded at (UTC):            Sun, 17 Mar 2024 16:29:02 GMT

  Capture timestamp (UTC):         Sun, 17 Mar 2024 16:29:52 GMT

  Capture tool:                    10.44.1

  Collection server IP:            54.157.181.49

  Browser engine:                  Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like
                                   Gecko) Chrome/120.0.6099.276 Safari/537.36

  Operating system:                Windows_NT (Node 18.18.2)

  PDF length:                      6

  Capture ID:                      iCAUaH3iMfBg1aJEaHzhPn

  User:                            lw-apasillas




                          PDF REFERENCE #:            coLRgxuJnNBDejexDJWLMH

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     Case 2:23-cv-05664-HDV-MAR Document 60 Filed 03/21/24 Page 9 of 59 Page ID #:438

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     Mercari / Trader Joe’S / Toys & Collectibles / Arts & Crafts / Stickers / Trader Joe's Halloween Sticker Roll 2023 Ghost Witch Hat Skull Eye Cauldron




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                                                                                                                                           Category                Toys & Collectibles       Arts & Crafts    Stickers
                                                                                                                                                                  Trader Joe'S Stickers
                                                           Be the first to comment
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       Add your comment                                                                                                                        #stickers (78K)          #halloween (415K)


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Document title: Trader Joe&#39;s Halloween Sticker Roll 2023 Ghost Witch Hat Skull Eye Cauldron | Mercari
Capture URL: https://www.mercari.com/us/item/m27804595173/?ref=brand_detail
Capture timestamp (UTC): Sun, 17 Mar 2024 16:29:52 GMT                                                                                                                                                                   Page 1 of 5

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Case 2:23-cv-05664-HDV-MAR Document 60 Filed 03/21/24 Page 10 of 59 Page ID #:439




                             Exhibit 3
Case 2:23-cv-05664-HDV-MAR Document 60 Filed 03/21/24 Page 11 of 59 Page ID #:440


                                                                            A Page Vault
  Document title:                  Trader Joe’s 2023 Rose Parade Limited Release ONWARD! Lapel Pin Collectible |
                                   eBay

  Capture URL:                     https://www.ebay.com/itm/145563338460?itmmeta=01HS1NWM8CDFZ2GSH77XSC
                                   BQ8Q&hash=item21e44046dc:g:V0gAAOSwSWhjwVnW&itmprp=enc
                                   %3AAQAJAAAA0IkptIZe7hW8kInsXf0Q0arImx9ejE242EK
                                   %2BNPhO31UyEuLS7E9kKaFO2AV10xFNfDfWdrKQpb9nq6aHVgzCKnOFi4XlQ
                                   %2FN%2BFcc%2FF4Wxrmzql8lTStVhvJms1F1%2BKqKRFj0aMfczPZJzXz0QB41w
                                   CMGevO3YkxN2Kq%2Fvert2fU6T2vdqO8B3iJUAHfyT4d8fVYxcJ8JcnrNZcNzm7Tb6
                                   pTQjSeJxGGzD2LFGYFvvJJJXemOvUTriB8UB9rkOeLej5Evxdr4KssWBRBgj
                                   %2FwCLsBU%3D%7Ctkp%3ABk9SR6jE8rXIYw

  Page loaded at (UTC):            Sun, 17 Mar 2024 16:25:45 GMT

  Capture timestamp (UTC):         Sun, 17 Mar 2024 16:27:00 GMT

  Capture tool:                    10.44.1

  Collection server IP:            54.157.181.49

  Browser engine:                  Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like
                                   Gecko) Chrome/120.0.6099.276 Safari/537.36

  Operating system:                Windows_NT (Node 18.18.2)

  PDF length:                      10

  Capture ID:                      rETiyga2xpCqWT5Td6939S

  User:                            lw-apasillas




                          PDF REFERENCE #:           tUbbGZ5hNuy3fzVdG6FKeR

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    Case 2:23-cv-05664-HDV-MAR Document 60 Filed 03/21/24 Page 12 of 59 Page ID #:441
      Hil Sign in or register    Daily Deals    Brand Outlet   GiftCards         Help & Contact                                                                                Sell     Watchlist’     © My eBayv         A        wooo


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   ebay                             category



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                                                                                   & Lunchboxes                     > Pinbacks     > Other Collectible Pinbacks                                              Share - Add to Watchlist


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                            RARE Trader Joe’s                                              Trader Joes Rose                                 Trader Joes Rose                                         New Trader Joe’s
                            2018 Rose Parade                                               Parade Pin 2023                                     Parade Pin 2023                                       2024 Rose Parade
                            Spinner Lapel Pin...                                        ONWARD!                                             ONWARD!                                                  Limited Release...

                            $7.99                                                          $3.00                                               $5.00                                                 $5.00
                            + $6.90 shipping                                               + $4.02 shipping                                    + $4.19 shipping                                      + $5.25 shipping
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                                                                                                                                                          Trader Joe’s 2023 Rose Parade
                                                                                                                                                          Limited Release ONWARD!                                   Lapel Pin
                                                                                                                                                          Collectible

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                                                                                                         Feedback on our suggestions                     Delivery:             Estimated between Thu, Mar 21 and Mon,
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      2018 Rose Parade                 Rose Parade                  Parade Pin Limited                        Drive You Can Help          Ro
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      Spinner Lapel Pin...             Collectible Pin              Edition. Sharing...                       Can   Hunger Santa   H...
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      $7.99                            $24.99                       $21.88                                    $14.40                      $1:
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Document title: Trader Joe’s 2023 Rose Parade Limited Release ONWARD! Lapel Pin Collectible | eBay
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Capture timestamp (UTC): Sun, 17 Mar 2024 16:27:00 GMT                                                                                                                                                                            Page 1 of 9

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    Case 2:23-cv-05664-HDV-MAR Document 60 Filed 03/21/24 Page 13 of 59 Page ID #:442
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      Vtg Law Enforcement Alliance                 Trader Joe's 2020 Rose Parade            RARE Trader Joe’s 2018 Rose                  memento mori skull enamel                      Kenny South Park Hunter            NEW
      of America LEAA Gold Tone                    Collectible Pin                          Parade Spinner Lapel Pin                     lapel pin brooch tac                           Thompson Lapel Pin Hat Pin         Loot
      Enamel Lapel Pin                                                                     Collectible                                                                                  High Quality!                      Walk
      Pre-owned                                    New                                     Pre-owned                                     New (Other)                                    New                                New

      $10.00                                       $24.99                                  $7.99                                         $11.99                                         $11.99                             $8.4
      + $112 shipping                              + $5.35 shipping                        + $6.90 shipping                              Free shipping                                  Free shipping                      Free
      Seller with a 100% positive                  Seller with a 100% positive             Seller with a 100% positive                   Seller with a 100% positive                    29 sold                            Selle
      feedback                                     feedback                                feedback                                      feedback                                                                          feed




           About this item         Shipping, returns, and payments                                                                                                                                          Report this item



          Seller assumes all responsibility for this listing.                                                                                                                           eBay item number:   145563338460




          Item specifics
          Condition                      New: A brand-new, unused, unopened, undamaged
                                         item (including handmade items). See the seller's ...
                                         Read more



          Item description from the seller
          Trader Joe’s Rose Parade Limited Release 2023 ONWARDI                        Lapel Pin Collectible

          NEW




                   About this seller                                                                                          Detailed seller ratings

                   a.
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Capture URL: https://www.ebay.com/itm/145563338460?…
Capture timestamp (UTC): Sun, 17 Mar 2024 16:27:00 GMT                                                                                                                                                                     Page 2 of 9

                                                                                                                                                                                                         Exhibit 3
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Case 2:23-cv-05664-HDV-MAR Document 60 Filed 03/21/24 Page 14 of 59 Page ID #:443




                             Exhibit 4
Case 2:23-cv-05664-HDV-MAR Document 60 Filed 03/21/24 Page 15 of 59 Page ID #:444


                                                                               A Page Vault
  Document title:                         2015 Trader Joe's Rose Parade Gnome On a Toadstool Float Lapel Shirt Pin |
                                   eBay

  Capture URL:                     https://www.ebay.com/itm/394527463680?itmmeta=01HS1NWM8CKXXF0EJ3TX5Q
                                   Y0H3&hash=item5bdbab5900:g:pUwAAOSwrcpjuCcR&itmprp=enc
                                   %3AAQAJAAAA0Dc3Ycce1yUIP1UrWnghUNsM9qATRqGPbYddmHvezX
                                   %2Fjpn1nnwSGLBNxJxZcPNMFnGt4zkD0qbUf9OqK
                                   %2Fp1uv4%2FjssMyAxJxJSZtCHde0iL%2FJwHQUP2FPKFrZXIRmJJe6RIaXJV1w2
                                   %2FRFt66S0wXSb15WE1V2RKmWMV63M4dvpoJPXqB60hTtBkoiVohGOwBS6Y58
                                   s%2B5Auavh48%2FHoEgwzQQvRB1wpWVj0lth97urDfjXraoDEE9Ag4pmajfREhNtN
                                   gosFlP2VSS33YYMoEC4io%3D%7Ctkp%3ABk9SR6jE8rXIYw

  Page loaded at (UTC):            Sun, 17 Mar 2024 16:27:56 GMT

  Capture timestamp (UTC):         Sun, 17 Mar 2024 16:28:31 GMT

  Capture tool:                    10.44.1

  Collection server IP:            54.157.181.49

  Browser engine:                  Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like
                                   Gecko) Chrome/120.0.6099.276 Safari/537.36

  Operating system:                Windows_NT (Node 18.18.2)

  PDF length:                      9

  Capture ID:                      bG7CfxDPgxpuwKRmo1Fkv7

  User:                            lw-apasillas




                          PDF REFERENCE #:              iDb1GcqaZ7NHYMoJT4srzG

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    Case 2:23-cv-05664-HDV-MAR Document 60 Filed 03/21/24 Page 16 of 59 Page ID #:445
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                                                                                                 & Lunchboxes            > Pinbacks      > Other Collectible Pinbacks                                              Share - Add to Watchlist


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                                                                             are
                                RARE Trader Joe’s                                               Trader Joe's 2015                                    Trader Joes Rose                                         @ 2013 Elephant
                            2018 Rose Parade                                                    Rose Parade Enamel                                   Parade Pin 2023                                          Teacup Float Trader
                            Spinner Lapel Pin...                                                pin w/Garden...                                      ONWARD!                                               _ Joe’s Collectible...
                            $7.99                                                               $15.00                                               $5.00                                                    $10.00
                                + $6.90 shipping                                                Free shipping                                        + $4.19 shipping                                         + $4.00 shipping
                                Sponsored



                                                                                                                                                                @ 2015 Trader Joe's Rose Parade
                                                                                                                                                                Gnome On a Toadstool Float Lapel
                                                                                                                                                                Shirt Pin

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                                                                                                                                                                               seller



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      Have one to sell? Sell now                                                                                                                                                                9 Add to watchlist
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                                                                                                                                                                Shipping:                US $5.95 Standard Shipping. See details
                                                                                                                                                                                         Located in: Celina, Ohio, United States

      Similar Items                                                                                                                                            Delivery:                 Estimated between Thu, Mar 21 and Mon,
      Sponsored                                                                                                 Feedback on our suggestions                                              Mar 25 to 98119 ©

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      RARE Trader Joe’s                  Trader Joe’s 2023                         Lucky Garden Gnome             Gnome with Pumpkin            Luc
                                                                                                                                                                                           ae        Earn up to 5x points when you use
      2018 Rose Parade                    Rose Parade Limited                      Pin Sweater Scarf              Vintage Lapel Pin             Pir
                                                                                                                                                                                                     your eBay Mastercard®. Learn more
      Spinner Lapel Pin...                Release ONWARD...                        Brooch Fantasy...                                            Bre
      Pre-owned                           New                                      New                              Pre-owned                   Ne

      $7.99                               $7.00                                    $14.95                         $14.40                        $1.             Shop with confidence
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      Seller with a 100%                  Seller with a 100%                       Seller with a 99.9%              Free shipping               Se                       eBay Money Back Guarantee
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Capture timestamp (UTC): Sun, 17 Mar 2024 16:28:31 GMT                                                                                                                                                                                   Page 1 of 8

                                                                                                                                                                                                                       Exhibit 4
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    Case 2:23-cv-05664-HDV-MAR Document 60 Filed 03/21/24 Page 17 of 59 Page ID #:446
      *   pu.7Y   OMIPpPiiy          '   t.Uy   Ollppiiiy             Piece   coNppily               VProT tT   ivwsuU   Vii             rie


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      positive feedback              positive feedback                positive feedback              Seller with a 100%                  po                9     Get the item you ordered or your money back. Learn
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                                                                                                            se




      Spring Garden GNOME                       Coffee Lover Gift Pink Gnome                Valentine GNOME Red Heart                         Trader Joe's 2020 Rose Parade       RARE Trader Joe’s 2018 Rose            WDV
      BROOCH Silver Lapel Pin                   Coffee Mug Silver Lapel Pin                 Roses BROOCH Silver Lapel                         Collectible Pin                     Parade Spinner Lapel Pin               & Wi
      Gardener Gardening Easter...              BROOCH Valentine Gift                       Pin Valentines Day Gift                                                              Collectible                             25th
      New                                       New                                         New                                               New                                 Pre-owned                               New

      $24.99                                    $24.99                                      $24.99                                            $24.99                              $7.99                                  $18.
      Free shipping                             Free shipping                               Free shipping                                     + $5.35 shipping                    + $6.90 shipping                       $22.
      Seller with a 99.8% positive              Seller with a 99.8% positive                Seller with a 99.8% positive                      Seller with a 100% positive         Seller with a 100% positive             Free
      feedback                                  feedback                                    feedback                                          feedback                            feedback                               Vic




           About this item         Shipping, returns, and payments                                                                                                                                         Report this item



          Seller assumes all responsibility for this listing.                                                                                                                     eBay item number:     394527463680




          Item description from the seller
          &@ Trader Joe's 2014 Rose Parade Pickle Car Float Collectible Lapel Shirt Pin.




                  About this seller                                                                                            Seller feedback (21)
                                                                                                                               @        s***a(9)+      Past 6 months                              Verified purchase

                      =                                                                                                        Very quick shipping and delivery. Product came exactly as described.
                                            shawi-8291                                                                         Great experience overall.
                                            100%   Positive Feedback -          47 items sold                                  RARE Taylor Swift Getaway Car Lithograph 1512/2500 In Canister     (4395160860633)


                                                                                                                                   3°   2***2 (1751) »    More than a year ago                    Verified purchase

                                                                                                                               Fabulous, as pictured. Arrived quickly in lovely gift box with ribbon. Good
                  f) Joined Nov 2022                                                                                           communication from seller.
                                                                                                                               RARE VTG Marked Salvador Teran Sterling Silver Bangle Bracelet Dancers and Stars...




                                                                                                                               coin was better than the pictures. You couldn't tell it was still in the
                                                                                                                               original package. fast shipping                                                                   9
                                                                                                                               2022 1 oz Silver Fender Stratocaster Guitar in Surf Green (#394324126071)




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                                                                                                                                                                                                     Exhibit 4
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Case 2:23-cv-05664-HDV-MAR Document 60 Filed 03/21/24 Page 18 of 59 Page ID #:447




                             Exhibit 5
Case 2:23-cv-05664-HDV-MAR Document 60 Filed 03/21/24 Page 19 of 59 Page ID #:448


                                                                             A Page Vault
  Document title:                  Trader Joe's 2020 Rose Parade Collectible Pin | eBay

  Capture URL:                     https://www.ebay.com/itm/395098119550?itmmeta=01HS1NWM8CDKJRD94SA8JM
                                   MJPY&hash=item5bfdaedd7e:g:EwEAAOSwXD1ljyvY&itmprp=enc
                                   %3AAQAJAAAA8JbJGF8VGmcnZgm4KPBXsXMd4REYRcEqpg
                                   %2Bm1a1vdbUrhPSDtl%2BvoOKDRXvHqFIYYeKyG0SErC8yZBQ9UMjfWFmioX47P
                                   NrW4vbFb2GTDZYOcgH3yQv5HBk5U%2B7C6gyo0Clcp84SocjFP2Fh1lsN5owoesc
                                   vdT96%2FYS6%2B1jzhIxRpDwYlbaj1ST4DLX8uAuhpdfBclkahhVyPAAHOCok
                                   %2F28fhejSXXJ%2FemufMFK7wBymMNMR0Gc%2BocSxqxG4Ptp%2FUMz6an2bP
                                   IXXny0usv6hnUcvDdWnUvmJMD4yvapuDkQJdxkkACb4ubc8F4J47HUt5g%3D%3D
                                   %7Ctkp%3ABFBMpsTytchj

  Page loaded at (UTC):            Sun, 17 Mar 2024 16:24:28 GMT

  Capture timestamp (UTC):         Sun, 17 Mar 2024 16:25:02 GMT

  Capture tool:                    10.44.1

  Collection server IP:            54.157.181.49

  Browser engine:                  Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like
                                   Gecko) Chrome/120.0.6099.276 Safari/537.36

  Operating system:                Windows_NT (Node 18.18.2)

  PDF length:                      12

  Capture ID:                      6wxJxyC5VgvvpH5QDW9SB2

  User:                            lw-apasillas




                          PDF REFERENCE #:            4A2HcugEjsAp9NCn2SZzVF

                                                                                                       Exhibit 5
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    Case 2:23-cv-05664-HDV-MAR Document 60 Filed 03/21/24 Page 20 of 59 Page ID #:449
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                            - Officially License...            = oes            Collection                                      LGBTQ pronoun...                                        Roses Parade Pin...
                            $12.00                            speiRgey $9.99
                                                              am f-0s
                                                                                                                                $3.99                                                   $15.00
                            Free shipping                     :                  + $6.99 shipping                               Free shipping                                           + $6.15 shipping
                            Sponsored



                                                                                                                                           Trader Joe's 2020 Rose Parade
                                                                                                                                           Collectible Pin

                                                                                                                                                        i3collectibleskKAmaroids (331)
                                                                                                                                                GF      100% positive - Seller's other items - Contact
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                                                                                                                                           US $24.99
                                                                                                                                           or Best Offer


                                                                                                                                           Condition:      New with tags


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                                                                                                                                           Pickup:                Free local pickup from Sun Valley, California,
      Similar Items
                                                                                                                                                                  United States. See details
      Sponsored                                                                                 Feedback on our suggestions

                                                                                                                                           Shipping:              US $5.35 Standard Shipping. See details
                                                                                                                                                                  Located in: Sun Valley, California, United
                                                                                                                                                                  States

                                                                                                                                          Delivery:               Estimated between Fri, Mar 22 and Wed, Mar
                                                                                                                                                                  27 to 98n? ©

                                                                                                                                           Returns:               30 days returns. Buyer pays for return
                                                                                                                                                                  shipping. See details


                                                                                                                                           Payments:              [rveal[GPay|[
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      RARE Trader Joe’s               Trader Joe’s 2023                TRADER JOE'S 2022            2019 Rose Parade The   Fe
      2018 Rose Parade                 Rose Parade Limited             Rose Parade                  UPS Store Pin New      Eni
      Spinner Lapel Pin...             Release ONWARD...               Watermelon Pin                                      Ste
      Pre-owned                        New                              New                         New                    Ne                                       tl
      $7.99                            $7.00                           $18.99                       $23.74                 $2                                     PayPal CREDIT
      + $6.90 shipping                 + $4.00 shipping                 + $3.84 shipping            $2499 5% off                                                  Special financing available. See terms and
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    Case 2:23-cv-05664-HDV-MAR Document 60 Filed 03/21/24 Page 21 of 59 Page ID #:450
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      RARE Trader Joe’s 2018 Rose                   TRADER JOE'S 2014 Rose                          TRADER JOE'S 2022 Rose                 PINTRILL PIN - Museum Of             ZARD Snowmen Brooch with              Lape
      Parade Spinner Lapel Pin                      Parade Pickle Car Float                         Parade Watermelon Pin                  Weed - Collectors Item.              Scarf and Hat in Crystal              Free
      Collectible                                   Collectible Pin                                                                                                             Accent Christmas Holiday Pin          Cor
      Pre-owned                                     Pre-owned                                       New                                    New                                  New                                    New
      $7.99                                         $16.99                                          $18.99                                 $18.99                               $25.80                                $12.
      + $6.90 shipping                              + $3.84 shipping                                + $3.84 shipping                       + $5.35 shipping                     Free shipping                          Free
      Seller with a 100% positive                   Seller with a 99.7% positive                    Seller with a 99.7% positive           Seller with a 100% positive          Seller with a 99.4% positive          13 Wi
      feedback                                      feedback                                        feedback                               feedback                             feedback




           About this item           Shipping, returns, and payments                                                                                                                                    Report this item



          Seller assumes all responsibility for this listing.                                                                                                                   eBay item number:        395098119550

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          Item specifics
          Condition                        New with tags: A brand-new, unused, and unworn                                     Type                        Pin
                                           item (including handmade items) in the original ...
                                           Read more
          Brand                            Trader Joe's                                                                       Color                       blue



          Item description from the seller

              e Trader Joe's 2020 Rose Parade Collectible Pin
              e Chocking Hazard Ages 4+ Product is intended for the Adult Collector Product may contain Sharp Points, Small Parts, and other Elements not suitable for
                   children




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                                                                                                                                                                                                     Exhibit 5
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                             Exhibit 6
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  Document title:                  Trader Joe’s Rose Parade Pins Set of 7 | Mercari

  Capture URL:                     https://www.mercari.com/us/item/m97170037240/?ref=brand_detail

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  Capture tool:                    10.44.1

  Collection server IP:            54.157.181.49

  Browser engine:                  Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like
                                   Gecko) Chrome/120.0.6099.276 Safari/537.36

  Operating system:                Windows_NT (Node 18.18.2)

  PDF length:                      6

  Capture ID:                      wvJptMRtnQ1kEz7ehCmvzr

  User:                            lw-apasillas




                          PDF REFERENCE #:            46ocCSfHEE4DGDdZsCqPKr

                                                                                                       Exhibit 6
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                                                                                                                                 Updated 01/26/24


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                                                                                                                                 Set of 7
                                                                                                                                 $100.00
                                                                                                                                      + $7.99 delivery fee


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                             Exhibit 7
Case 2:23-cv-05664-HDV-MAR Document 60 Filed 03/21/24 Page 26 of 59 Page ID #:455


                                                                             A Page Vault
  Document title:                  Trader Joe's T Shirt Short Sleeve Employee Hibiscus Blue Mens Size Large | eBay

  Capture URL:                     https://www.ebay.com/itm/134966160363?itmmeta=01HSFJM1V5952EDAHQR9E04
                                   ESS&hash=item1f6c9c2beb:g:PIgAAOSwoNdl58ma&itmprp=enc
                                   %3AAQAJAAAA4LmTxBEVLrIgYWwN98WmjKM99sdlxg%2FtvvCW2h%2BiGspTb
                                   %2Ff%2BqstJK7Ed5fgzJPpv%2FPGBIZpVkiGogWVbrowfMPlF6mo6sa9dt9z%2FhU
                                   yS5Ra4lSGgQFWEn2p2h6nItfWSSFvm8Chrg9rTHIjUvTVmtXGYoVvaSoA8uAs0fMm
                                   Zb%2F3C2LBwh7dkRaAYmO%2Bfi8pd0fm6tA%2BHCDGoB
                                   %2BM0gRTi4VUgLsixZbjv5Bm4Jkpuqj0i38ABhUs4XgN7FSDAyKfd
                                   %2BXzTMEneqzWWPBwTwhM18Th20sadAXmi3sgErZXs6F8Y%7Ctkp
                                   %3ABFBM8p3Q8stj

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  Capture timestamp (UTC):         Thu, 21 Mar 2024 05:20:46 GMT

  Capture tool:                    10.44.2

  Collection server IP:            54.145.42.72

  Browser engine:                  Mozilla/5.0 (X11; Linux x86_64) AppleWebKit/537.36 (KHTML, like Gecko)
                                   Chrome/120.0.6099.276 Safari/537.36

  Operating system:                Linux (Node 18.18.2)

  PDF length:                      12

  Capture ID:                      eskK13Zgmyv2Xy7HXnCDwW

  User:                            lw-aman




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                                                                                                              18
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                         Sleeve Shirt Men's                                   Employee T-Shirt                                     Mens Size XL Black                                               Shirt, size small,
                         Size Medium Blue...                                  Size XL Short Slee...                                Long Sleeve...                                                   short sleeves, navy...
                       $19.88                                                $12.99                                              $14.80                                                             $10.00
                         + $5.99 shipping                                     + $6.65 shipping                                     + $6.00 shipping                         -                       + $4.68 shipping
                         Sponsored




                                                                                                                                              Trader Joe's T Shirt Short Sleeve
                                                                                                                               u              Employee Hibiscus Blue Mens Size
                                                                                                                                              Large

                                                                                                                                                                slsterrett (1244)
                                                                                                                                                    ZS          100% positive - Seller's other items . Contact
                                                                                                                                                                seller



                                                                                                                                   y          US $15.99
                                                                                                                                              or Best Offer


                                                                                                                                              Condition:           Pre-owned
                                                                                                                                              “Excellent condition. Stored unused.”



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      Sponsored                      See all                                                    Feedback on our suggestions
                                                                                                                                              Shipping:                US $5.90 Standard Shipping. See details
                                                                                                                                                                       Located in: Salinas, California, United States

                                                                                                                                              Delivery:                Estimated between Fri, Mar 22 and Mon, Mar
                                                                                                                                                                       25 to 98119 ©
                                                                                                                                              Returns:                 30 days returns. Buyer pays for return
                                                                                                                                                                       shipping. See details

                                                                                                                                              Payments:                              |         ||            ze          | DISCOVER |
      Trader Joes Short           Traders Joe’s Employee        Vintage Microsoft                      Trader Joes Shirt                                                PayPal || VISA   ©          ex   _ail
      Sleeve Shirt Men's Size —__ T-Shirt Size XL Short         Windows 95 Polo Shirt                | Employee Blue Short                                             PayPal CREDIT
      Medium Blue Hibiscu...      Sleeve Unisex Royal...        Mens Size XL Black...                  Sleeve Hibiscus Cott...                                         Special financing available. See terms and
      Pre-owned                      New (Other)                Pre-owned                              Pre-owned                                                       apply now

      $19.88                         $12.99                     $0.99                                  $10.95                                                                                                  .
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                                                                                                                                                                                                             Exhibit 7
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    Case 2:23-cv-05664-HDV-MAR Document 60 Filed 03/21/24 Page 28 of 59 Page ID #:457
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      Trader Joe's employee crew                          Trader Joes Short Sleeve Shirt         Traders Joe’s Employee T-Shirt           Trader Joe's Short Sleeve           New Comfort Colors XL               Trad
      Hibiscus shirt mens XL long                         Men's Size Medium Blue                 Size XL Short Sleeve Unisex              Unisex Employee T-Shirt             Cotton Shirt Mens Short             Blue
      sleeve blue                                         Hibiscus Logo Employee                 Royal Blue New                           Hibiscus Burgundy Medium            Sleeve Crew Neck Tee Top X-...
      Pre-owned                                           Pre-owned                              New (Other)                              Pre-owned                           New (Other)                          Pre-:

      $12.57                                              $19.88                                 $12.99                                   $15.00                              $10.95                              $8.€
      $IA95 30% off                                       + $5.99 shipping                       + $6.65 shipping                         + $4.43 shipping                    Free shipping                       + $5
      + $6.50 shipping                                    YTop Rated Plus                        Last one                                 Seller with a 100% positive         Seller with a 99.8% positive        Tc
      QYTop Rated Plus                                    Seller with a 99.5% positive                                                    feedback                            feedback                            Selle
                                                          feedback                                                                                                                                                feed




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          Last updated      on Mar 05, 2024 17:44:19 PST View all revisions




          Item specifics
          Condition                         Pre-owned(@                                                                        Seller Notes              “Excellent condition. Stored unused.”
          Features                          All Seasons, Easy Care, Lightweight                                                Department                Men
          Personalize                       No                                                                                 Handmade                  No
          Pattern                           Graphic Print                                                                      Season                    Fall, Spring, Summer, Winter

          Vintage                           No                                                                                 Size                      L
          Country/Region of                 Honduras                                                                           Material                  Cotton
          Manufacture
          Size Type                         Regular                                                                            Neckline                  Crew Neck

          Sleeve Length                     Short Sleeve                                                                       Fabric Type               Knit

          Brand                             Port Co                                                                            Color                     Blue                                                              ?

          Garment Care                      Machine Washable                                                                   Theme                     Hawaiian
          rit                              Pin mes lane                                                                        Te ean                    T    Obie




Document title: Trader Joe&#39;s T Shirt Short Sleeve Employee Hibiscus Blue Mens Size Large | eBay
Capture URL: https://www.ebay.com/itm/134966160363?…
Capture timestamp (UTC): Thu, 21 Mar 2024 05:20:46 GMT                                                                                                                                                         Page 2 of 11

                                                                                                                                                                                                Exhibit 7
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    Case 2:23-cv-05664-HDV-MAR Document 60 Filed 03/21/24 Page 29 of 59 Page ID #:458
        Country/Region of           Honduras                                                   Material                 Cotton
        Manufacture
        Size Type                   Regular                                                     Neckline                Crew Neck
        Sleeve Length               Short Sleeve                                                Fabric Type             Knit

        Brand                       Port Co                                                    Color                    Blue
        Garment Care                Machine Washable                                            Theme                   Hawaiian
       Fit                          Regular                                                     Type                    T-Shirt


        Item description from the seller
        Trader Joe's Short Sleeve T Shirt.
        Graphic Hibiscus. Trader Joe's on Front and Back.
        Color is Baby Blue.
        Excellent condition. Stored Unused.


        Men's Size Large
        Chest measures 44 inches.
        Front length measures          30 inches.




                                                                                                                                                        Seller's other items
                                       slsterrett
                                                                                                                                                              Contact
                    dw                 100% Positive Feedback
                                       3.2K items sold
                                                                                                                                                          Q   Save seller


              1 Joined Oct 1997



             Detailed seller ratings                                  Seller feedback (1,)58)
             Average for the last 12 months
                                                                      @      m**m    (119) +   Past year                                                         Verified purchase

             Accurate description                               5.0
                                                                      Top notch in every category, great communication, awesome value, described as used but look
                                                                      new, shipped it the day | bought it, package better than if it came from Bloomingdale's.
             Reasonable shipping cost                           49
                                                                      Patagonia Board Shorts Mens 32 Wavefarer Swim Shorts Beach Blue Brown Yellow (#134658252346)
             Shipping speed                                     5.0

                                                                      °      m***t (653) «     Past 6 months                                                     Verified purchase
             Communication                                      5.0

                                                                      This seller is fantastic. Slight issue with usps . The seller communicated with me the entire time
                                                                      until the package arrived. | can’t say enough kind words ! Stellar....absolutely STELLER

                                                                      NEW    Disney Minnie Mouse Knit Beanie and Stretch Gloves Set Girls One Size (#134805680818)



                                                                      @       i***e (205) - Past 6 months                                                        Verified purchase

                                                                      Very satisfied!! Item arrived well packaged and exactly as described. Very fast shipping!
                                                                      Excellent eBay seller. Highly recommend!!

                                                                      Spyder Active ProWeb Long Sleeve Shirt 1/4 Zip Base Layer Grey Mens Size Medium    (#134868854216)




                                                                            See all feedback




                                                                                                                                                                                            ?
      Back to home    page                                                                                                                                                  Return to top




Document title: Trader Joe&#39;s T Shirt Short Sleeve Employee Hibiscus Blue Mens Size Large | eBay
Capture URL: https://www.ebay.com/itm/134966160363?…
Capture timestamp (UTC): Thu, 21 Mar 2024 05:20:46 GMT                                                                                                                               Page 3 of 11

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  Document title:                  10 things you should never do in a Trader Joe’s, according to employees -
                                   pennlive.com

  Capture URL:                     https://www.pennlive.com/life/2020/05/10-things-you-should-never-do-in-a-trader-
                                   joes-according-to-employees.html

  Page loaded at (UTC):            Tue, 19 Mar 2024 18:59:50 GMT

  Capture timestamp (UTC):         Tue, 19 Mar 2024 19:02:30 GMT

  Capture tool:                    10.44.1

  Collection server IP:            34.230.137.168

  Browser engine:                  Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like
                                   Gecko) Chrome/120.0.6099.276 Safari/537.36

  Operating system:                Windows_NT (Node 18.18.2)

  PDF length:                      18

  Capture ID:                      4zPRT2bMFqsLcAZgmNKGsV

  User:                            lw-daragon




                          PDF REFERENCE #:            goL3i3gpevPrNzHo42hVat

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                     LIFE & CULTURE


                     10 things you should never do in a Trader Joe’s,
                     according to employees
                     Updated:   Mar. 06, 2023, 12:06 p.m. | Published: May. 08, 2020, 11:24 a.m.




                                                                                                                            ENNLIVE
                                                                                                                            PA's #1 Trusted
                                                                                                                                News Source




                         People line up outside of Trader Joe's before they open. (Patti Sapone | NJ
                         Advance    Media)    Patti Sapone   | NJ Advance     Media



                                                     OXWH A
                         By Linda Hasco      | Ihasco@pennlive.com


                         It’s hard to find anyone who doesn’t love the shopping
                         experience offered at Trader Joe’s.
                                                                                                              Recommended    for You
                         Since the first store opened in 1967 in Pasadena, California,
                         Trader Joe’s has been known for offering “the best quality                                          Best High-Yield Online
                                                                                                                             Savings Accounts of
                         products for the best, everyday prices,” proclaims its website,                                     March 2024
                         and it’s employees have been known for “their bright, tropical-
                         patterned shirts and for generally being nice, helpful, and well
                         informed.”                                                                                          Elton John’s husband
                                                                                                                             provides major update
                                                              Advertisement                                                  on singer’s health post-
                                                                                                                             surgery
                                                                                                                             PennLive.com



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                                                                                                                       ne    ‘Never Going Back to




Document title: 10 things you should never do in a Trader Joe’s, according to employees - pennlive.com
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                         informed.”                                                                                                                     Elton John’s husband
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                                                                                                                                                        surgery
                                                                                                                                                        PennLive.com




                                                                                                                                                        ‘Never Going Back to
                                                                                                                                                        Prime’—Why 20,000
                                                                                                                                                        Users Prefer This
                                                                                                                                                        Shopping Secret
                                                                                                                                                        Online    Shopping     Tools

                                        People Over 50 Are Playing This Game To Stay
                                        oebeB ela
                                                                                                                                                        Pregnant Amish woman
                                                                                                                                                        found dead in Pa. had
                                                                                                                                                        cuts on her head, neck
                                                                                                                                                        PennLive.com

                         The unique shopping experience offered by Trader Joe’s “means
                         the etiquette for customers at TJs can also be a bit different from
                                                                                                                                                        Here's What A Walk-in
                         that of a typical supermarket,” says a report by Insider.
                                                                                                                                                        Shower       Should     Cost

                                                                                                                                                        West     Shore   Hom           Learn h
                         According to Insider, when it checked in with former and current
                         Trader Joe’s employees, here’s what it learned was particularly
                         annoying to store employees - and, the 10 things a shopper                                                                     ‘Fixer Upper’ fans share
                                                                                                                                                        mixed reactions after
                         should never do in the store.                                                                                                  Chip and Joanna
                                                                                                                                                        Gaines’ big...
                         1: “Don’t ask two different employees to look for the same                                                                     PennLive.com


                         item.”
                                                                                                                                Promoted   Links by Taboola


                         When Insider spoke with a former Trader Joe’s employee, he said,
                         “Customers often asked me to look in the back of the store for something,
                         and it really bothered me when I'd come back out to find that they had

                         asked a different employee to check in the back as well.”


                         It’s often more useful to ask when an employee expects an item to
                         be restocked, than to send multiple staff members on a hunt for
                         the same out-of-stock item, reports Insider.

                                                                                                                                      @ PENNLIVE
                                                                                                                                                      PA’s #1 Trusted
                                                                                                                                                          News Source




                         Don't pass up a sample of Trader Joe's coffee, but be sure to dispose of the
                         sample cup in the provided trash cans.                 (Grant Butler, The
                         Oregonian/OregonLive)          LC- Grant Butler, The Oregonian/OregonLive                       LC-
                         Grant Butler, The Oregonian/
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                         Don't pass up a sample of Trader Joe's coffee, but be sure to dispose of the
                         sample cup in the provided trash cans. (Grant Butler, The
                         Oregonian/OregonLive) LC- Grant Butler, The Oregonian/OregonLive LC-
                         Grant Butler, The Oregonian/
                                                          Advertisement



                                                 @ PENNLIVE
                                                                                                                      Advertisement

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                                                                News Source                                  @ PENNLIVE
                                                                                                                        PA's #1 Trusted
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                         2: “There's no reason to leave sample cups or trash around
                         the store.”


                         Insider reports that a former Trader Joe’s employee said the staff
                         hated when sample cups and food wrappers were left scattered
                         around the store.


                         “There are plenty of garbage cans around the store, so it’s annoying to
                        find trash left on shelves or in carts,” they told Insider. "This is
                         especially true if the trash was sample cups.”

                         Insider suggests customers show their appreciation for the free
                         samples by depositing used cups, utensils, and napkins in
                         provided trash receptacles.


                         3: “It can be rude to ignore employees when they greet
                         you.”

                         As touted on its website, the employees at Trader Joe’s are known
                         for their friendliness, and being polite in return is always the best

                         option, says Insider.

                         When Insider spoke with a current Trader Joe’s employee, she
                         said it was considered rude to ignore staff members or cut them
                         off during conversation.

                         “When I greet a customer and ask how they are, it’s frustrating when
                         they either don’t acknowledge I said anything or they cut me off and
                         just ask a question about where to find an item in the store,” the
                         employee told Insider. “This happens almost daily.”

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                                                                 News Source




                         4: “It’s frustrating for employees when you put products
                         back on the wrong shelves.”
                                                                                                             @ PENNLIVE
                                                                                                                        PA's #1 Trusted
                         Leaving products where they don’t belong creates more work for                                     News Source
                         Trader Joe’s employees, who are responsible for making sure all
                         items are shelved correctly, says Insider.

                         “It’s so much easier for employees if you bring items that you don’t
                         want up to the cashiers,” a former employee told Insider. “If
                         everyone just brought unwanted items to the register, we could avoid
                         hours spent dealing with misplaced items.”

                         So, when in doubt, pass the item to a staff member rather than
                         abandoning it on a random shelf - especially frozen items that can
                         be ruined if left out, says Insider.




                         Trader Joe's in State College. December   20, 2017. Dan Gleiter |
                         dgleiter@pennlive.com   HAR   HAR

                         5: “Try not to leave carts at the register.”

                         Trader Joe’s shopping carts may be smaller than those at other
                         supermarkets, but if left unattended they can still obstruct traffic
                         flow through the store, says Insider.

                         “Some people just leave their cart at the register and walk away after
                         checking out,” a former employee told Insider. “The carts are located
                         right outside, so please take it back instead of leaving it in the way of
                         everybody else.”

                         For those who don’t want to deal with a cart and are picking up
                         only a few items, Insider suggests using a shopping basket
                         instead.


                         6: “Don’t try to abuse the Trader Joe’s return policy.”




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                         everybody else.”

                         For those who don’t want to deal with a cart and are picking up

                         only a few items, Insider suggests using a shopping basket
                         instead.

                         6: “Don’t try to abuse the Trader Joe’s return policy.”

                         Insider reports that at Trader Joe’s you can bring almost any item
                         back to the store for a full refund, with or without a receipt -
                         that’s a generous return policy. In addition to nonedible products
                                                                                                             ® PENNL ava
                         that didn’t meet your expectations, the policy includes food items                             PA's #1 Trusted
                         - even those you've opened and eaten, says Insider. However, the                                   News Source
                         store expects customers to not ask for refunds, on products they
                         have successfully used or enjoyed.

                          “Trader Joe’s is known for its excellent return policy that you can use
                         even without a receipt, so it was always annoying when people abused
                         it,” a former employee told Insider. “For example, I had multiple
                         people return plants that they‘d obviously killed and then tried to blame
                         the store for it.”

                         7: “If you want to sample a specific food, wait for a staff
                         member — don't open the package yourself.”

                         According to Insider, Trader Joe’s often allows customers to try
                         before they buy - something many shoppers may not be aware of.

                         Insider states there are guidelines: “Customers can have an
                         employee open just about any item for a sample before purchase,
                         but that doesn’t mean you're allowed to start opening packages
                         on your own. An employee must be present if a customer is
                         sampling an item from the shelves.”

                         Employees said shoppers weren't allowed to sample certain
                         items, such as frozen vegetables or baking mixes, reports Insider.




                         Each of Trader Joe's "crew members"   is friendly and knowledgeable     about
                         store products and trained to do just about everything   at the store. (Photo,
                         Mark Bugnaski | MLive.com)
                         8: “There’s no need to critique an employee's bagging
                         technique, especially since they are trained to do ita




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                         Each of Trader Joe's "crew members"       is friendly and knowledgeable         about
                         store products and trained to do just about everything           at the store. (Photo,
                         Mark Bugnaski | MLive.com)
                         8: “There's no need to critique an employee's bagging
                         technique, especially since they are trained to do ita
                         certain way.”

                         A current employee told Insider that its frustrating when

                         customers criticize the way their groceries are being bagged.                              ®   PENNLIVE
                                                                                                                         PA’s #1 Trusted
                         “Staff are actually trained in the best way to bag the store’s groceries, so
                                                                                                                             News Source
                         it’s annoying when a customer comes in and says that we're doing it
                         wrong or critiques our method,” she told Insider.

                         To ask an employee to put certain items in the same bag or leave

                         an item out of one is fine, but Insider suggests “customers who
                         are extremely particular about how their groceries are handled
                         should simply bag their items themselves.”

                         9: “While at the register, you should avoid being on your
                         phone.”

                         Your phone call can wait. According to Insider, when in the
                         checkout line, it’s disrespectful to staff members as well as other
                         waiting shoppers to talk on the phone at the register.

                         A current employee told Insider, “Jt really annoys staff when a
                         customer is on the phone in the checkout line and then gets upset when

                         we interrupt them to tell them the total or ask a question. Even worse,
                         some people ask us to wait until they're off the phone.”




                         When   the checkout aisles get busy at Trader Joe's, a maritime          bell rings out,
                         telling crew members    it's all hands on deck.       (LC- Grant Butler, The
                         Oregonian/OregonLive)     LC- Grant Butler, The Oregonian/

                         10: “Stop ringing the bells at the checkout lanes.”

                         Yes, Trader Joe’s may have a nautical theme, but those large bells
                         near each cashier aren't just fun decorations, they’re used by staff
                         members to communicate or ask for assistance, says Insider.




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                         Oregonian/OregonLive)                           LC- Grant Butler, The Oregonian/

                         10: “Stop ringing the bells at the checkout lanes.”

                         Yes, Trader Joe’s may have a nautical theme, but those large bells
                         near each cashier aren’t just fun decorations, they’re used by staff
                         members to communicate or ask for assistance, says Insider.

                         Insider shares what those ringing bells mean: “Ringing the bell
                         once instructs staff to open another register, and two rings means
                         someone at the register has additional questions that need to be
                         answered. Three bells summons a manager.”

                         So, you can see why employees don’t appreciate when customers
                                                                                                                                                                                        ‘Never Going Back to Prime’—Why
                         or their children ring the bells for fun.                                                                                                                      20,000 Users Prefer This Shopping...
                                                                                                                                                                                        Online   Shopping   Tools


                         What can we learn from this?

                         Whether at Trader Joe’s, or any grocery store, these employee
                         suggestions for proper shopping etiquette are guidelines all of us
                         should keep in mind, especially at this time of increased anxiety
                                                                                                                                                                                        Don't Pay $179/Year for Amazon Prime
                         while grocery shopping amid the coronavirus pandemic. Grocery                                                                                                  - Use This Trick Instead
                                                                                                                                                                                        Coupon    Code Finder
                         store employees deserve our respect and appreciation, so let’s do
                         our part.

                         READ MORE:

                                     e     Will central Pa. restaurants survive coronavirus?
                                                                                                                                                                                        GNC's #1 Testosterone Booster
                                           Here’s how they are trying to adapt                                                                                                          Turning Old Men Into 'Young Bucks’
                                     e     Businesses open in defiance of Pennsylvania

                                           coronavirus shutdown

                                     e AG asked to investigate sexual misconduct
                                           allegations against high school baseball player
                                     e Stimulus checks: Report highlights why some older
                                           Americans won't see a payment
                                     e Central Dauphin, CD East high schools schedule
                                           graduation ceremonies for July

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                          Coronavirus cases in Pennsylvania
                         As of 12.p.m. Dec. 18,2020, the Pa. Department of Heath reports that there are 538,655 confirmed and probable cases of COVID-19 in PennsyWanis. There are at
                         beast 13,608 reported deothe from the virus.




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                             Exhibit 9
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  Document title:                  Salted Caramel Hot Cocoa Stirring Spoon with Mini Marshmallows | Trader Joe's

  Capture URL:                     https://www.traderjoes.com/home/products/pdp/salted-caramel-hot-cocoa-stirring-
                                   spoon-with-mini-marshmallows-076706

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  Collection server IP:            54.157.181.49

  Browser engine:                  Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like
                                   Gecko) Chrome/120.0.6099.276 Safari/537.36

  Operating system:                Windows_NT (Node 18.18.2)

  PDF length:                      4

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  User:                            lw-apasillas




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                                                                                                                   ©      Select your store      Stores   About Us      Careers    Announcements


                            TRADER              J OE      ’S                                                                                                   Q     Search         Shopping List



                Home          > Products     > Food   > Snacks & Sweets   > Candies & Cookies    > Salted Caramel Hot Cocoa Stirring Spoon with Mini Marshmallows




                    Salted Caramel                                                           as
                Hot Cocoa Stirring
                Spoon with Mini
                Marshmallows
                                                                      $0.99/1.16 Oz


                Trader Joe’s Salted Caramel Hot Cocoa Stirring
                Spoon with Mini Marshmallows combines rich milk
                chocolate with the flavor of Salted Caramel. And
                we’ve topped it off with white & pink Mini
                Marshmallows. This handy Spoon is Hot Cocoa
                waiting to happen. All it requires is a mug of

                    ‘Vv     Read More




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                We Love This For...                                                       Nutrition Facts




                     FallFaves Family Style                                                1 piece
                                                                                                                  (33g)
                     Giftable Yourself
                                Heat
                                                                                           CALORIES      PER SERVING


                                                                                            180
                Ingredients                                                                SERVES 1                               AMOUNT                                  %DV

                                                                                           Total Fat                              lig                                     14%

                e         MILK CHOCOLATE        (SUGAR,   COCOA                            Saturated Fat                          7g                                      35%

                          BUTTER,    WHOLE    MILK    POWDER,
                                                                                           Trans Fat                              Og
                          UNSWEETENED        CHOCOLATE,        WHEY
                          meawinen    1        eae      eer                                Cholesterol                            less than   5 ma                        1%



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Capture timestamp (UTC): Sun, 17 Mar 2024 16:32:49 GMT                                                                                                                                   Page 1 of 3

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                      TRADER JOE’S                                                                                                                                                   Q    Search            Shopping List
                    TTT    WIFI OT           IVINS                            (SOS,   SCO   SVS


                    FRUCTOSE SYRUP [WHEAT], WATER,                                                           Dietary Fiber                       less than 1g                                    3%
                    CORNSTARCH,                       DEXTROSE,
                                                                                                            Total Sugars                         17g
                    CARRAGEENAN,                          RICE PROTEIN, NATURAL
                                                                                                             Includes                            15 g Added Sugars                               30%
                    FLAVORS)
                                                                                                             Protein                             2g
                e   SEA SALT
                                                                                                            Vitamin D                            0.1 mcg                                         0%
                e   NATURAL FLAVORS.
                                                                                                            Calcium                              70 mg                                           6%

                                                                                                             fron                                0.9 mg                                          6%
                CONTAINS MILK, SOY, WHEAT.
                                                                                                             Potassium                           120 mg                                          2%
                MAY CONTAIN                EGG, BRAZIL NUT, ALMOND,
                HAZELNUT.

                                                                                                           NOTE: Since posting, the details of this item may have changed due to fluctuating market
                                                                                                           prices, federal regulations, currency rates, drought, bandits, rush hour traffic, filibusters,
                                                                                                         zombie apocalypse, punctilious product developers...Contact our Crew for current price and
                                                                                                         availability




                So, What Else is New?




                      ts   ED PUBLAND PEPPERS wit) Mexican Ste Torwts Sauce




                    Entrées & Sides                                                     Pet Stuff                            Entrées & Center of Plate                   Nuts, Dried Fruits, Seeds

                    Chiles Rellenos con                                                 Chicken & Bone                       Hardwood          Smoked                    Sweetened Green
                    Queso                                                               Broth Recipe Dog                     Pulled Chicken                              Mango
                                                                                        Treats
                                                $5.99/14.4 Oz                                       $3.99/6 Oz                                  $8.99/16 Oz                                   $2.49 /6 Oz




                                                                                                             €         12      4




                                  The Fearless Flyer                                                         The Podcast                                                     Recipes
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                                                                                                                    GOT IT




Document title: Salted Caramel Hot Cocoa Stirring Spoon with Mini Marshmallows | Trader Joe&#39;s
Capture URL: https://www.traderjoes.com/home/products/pdp/salted-caramel-hot-cocoa-stirring-spoon-with-mini-marshmallows-076706
Capture timestamp (UTC): Sun, 17 Mar 2024 16:32:49 GMT                                                                                                                                                           Page 2 of 3

                                                                                                                                                                                                      Exhibit 9
                                                                                                                                                                                                            32
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                           Exhibit 10
Case 2:23-cv-05664-HDV-MAR Document 60 Filed 03/21/24 Page 44 of 59 Page ID #:473


                                                                            A Page Vault
  Document title:                  Cookie Mug Hangers | Trader Joe's

  Capture URL:                     https://www.traderjoes.com/home/products/pdp/cookie-mug-hangers-068826

  Page loaded at (UTC):            Sun, 17 Mar 2024 16:31:09 GMT

  Capture timestamp (UTC):         Sun, 17 Mar 2024 16:31:42 GMT

  Capture tool:                    10.44.1

  Collection server IP:            54.157.181.49

  Browser engine:                  Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like
                                   Gecko) Chrome/120.0.6099.276 Safari/537.36

  Operating system:                Windows_NT (Node 18.18.2)

  PDF length:                      4

  Capture ID:                      8pnuxecwGzyeLnYHgZFKjV

  User:                            lw-apasillas




                          PDF REFERENCE #:           sNab38LJ2gbpaag3EUP7nE

                                                                                                     Exhibit 10
                                                                                                             33
    Case 2:23-cv-05664-HDV-MAR Document 60 Filed 03/21/24 Page 45 of 59 Page ID #:474

                                                                                                          ©   Select your store      Stores         About Us         Careers   Announcements


                      TRADER           J OE       ’S                                                                                                     Q       Search         Shopping List



               Home    > Products   > Food    > Snacks& Sweets   > Candies
                                                                       & Cookies         > Cookie Mug Hangers




                Cookie Mug                                                         SEASONAL

               Hangers                                                                                                          |             sien
                                                             $2.99/5.47 Oz                          Us                 =            Str                 a    dit 3
                                                                                                                                    OM THE Rim oF
                                                                                                                                           v

               Given our proliferation of festive holiday beverages
               and tasty cookies, we appreciate any opportunity to
               dunk said cookies into said beverages. So is it any
               wonder why Trader Joe’s Cookie Mug Hangers are
               such a slam dunk of a holiday treat? These
               gingerbread person-shaped cookies are designed to
                Vv   Read More




               (+     ADDTOLIST ,                      f     Ov         ®                      i




               We Love This For...                                                Nutrition Facts




                Family Style Merry-making                                           A cookies
                                                                                                               (39g)
               Treat  Yours
                                                                                   CALORIES     PER SERVING


                                                                                    180
               Ingredients                                                         SERVES ABOUT 4                      AMOUNT                                          %DV

                                                                                   Total Fat                           6g                                              8%
               WHEAT FLOUR, SUGAR, PALM OIL, WHEAT                                 Saturated Fat                       3.0g                                            15%
               STARCH, CARAMELIZED            INVERT SUGAR
                                                                                   Trans Fat                           Og
               SYRUP, RAPESEED OIL, LEAVENING (SODIUM
               BICARBONATE, CREAM            OF TARTAR), EGGS,                    Cholesterol                          5mg                                             2%
               GROUND     CINNAMON,          SALT, CARAMELIZED
                                                                                   Sodium                              180 mg                                          8%
               SUGAR, GROUND        MACE.
                                                                                 __Total Carbohydrate                  22 4                                            11%


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                                                                                         GOT IT




Document title: Cookie Mug Hangers | Trader Joe&#39;s
Capture URL: https://www.traderjoes.com/home/products/pdp/cookie-mug-hangers-068826
Capture timestamp (UTC): Sun, 17 Mar 2024 16:31:42 GMT                                                                                                                               Page 1 of 3

                                                                                                                                                                       Exhibit 10
                                                                                                                                                                               34
    Case 2:23-cv-05664-HDV-MAR Document 60 Filed 03/21/24 Page 46 of 59 Page ID #:475

                    TRADER                 J OE      ’S                                                                                                      Q       Search           Shopping List

               ALMOND, COCONUT,           HAZELNUT, MACADAMIA
               NUT, SHEA NUT.                                                          Includes                            12 g Added Sugars                               24%

                                                                                       Protein                             2g

                                                                                       Vitamin D                           Omcg                                            0%

                                                                                      Calcium                              10 mg                                           0%

                                                                                       lron                                Omg                                             0%

                                                                                       Potassium                           70 mg                                           2%




                                                                                     NOTE: Since posting, the details of this item may have changed due to fluctuating market
                                                                                     prices, federal regulations, currency rates, drought, bandits, rush hour traffic, filibusters,
                                                                                     zombie apocalypse, punctilious product developers...Contact our Crew for current price and
                                                                                     availability




               So, What Else is New?




                   © 1303




                  Entrées & Sides                            Pet Stuff                                  Entrées & Center of Plate                  Nuts, Dried Fruits, Seeds

                  Chiles Rellenos con                        Chicken & Bone                             Hardwood Smoked                            Sweetened Green
                Queso                                        Broth Recipe Dog                           Pulled Chicken                             Mango
                                                             Treats
                                     $5.99/14.4 Oz                              $3.99/6 Oz                                $8.99/16 Oz                                   $2.49/6 Oz

                            4   ADD TO LIST ))                    (4 ADD TO LIST ))                           4   ADD TO LIST ))                        (4 ADDTO        LIST ))




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                                The Fearless Flyer                                     The Podcast                                                   Recipes
                                     [ GeTiT |                                                LISTEN |                                             / TRY         |



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Document title: Cookie Mug Hangers | Trader Joe&#39;s
Capture URL: https://www.traderjoes.com/home/products/pdp/cookie-mug-hangers-068826
Capture timestamp (UTC): Sun, 17 Mar 2024 16:31:42 GMT                                                                                                                                     Page 2 of 3

                                                                                                                                                                           Exhibit 10
                                                                                                                                                                                   35
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                           Exhibit 11
Case 2:23-cv-05664-HDV-MAR Document 60 Filed 03/21/24 Page 48 of 59 Page ID #:477


                                                                             A Page Vault
  Document title:                  What's Good at Trader Joe's?: Trader Joe's Chocolate Salted Caramel Mug Mix

  Capture URL:                     https://www.whatsgoodattraderjoes.com/2018/10/trader-joes-chocolate-salted-
                                   caramel.html

  Page loaded at (UTC):            Sun, 17 Mar 2024 16:35:43 GMT

  Capture timestamp (UTC):         Sun, 17 Mar 2024 16:36:57 GMT

  Capture tool:                    10.44.1

  Collection server IP:            54.157.181.49

  Browser engine:                  Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like
                                   Gecko) Chrome/120.0.6099.276 Safari/537.36

  Operating system:                Windows_NT (Node 18.18.2)

  PDF length:                      7

  Capture ID:                      h2EQYfr2T5fNh58vZDgRZ5

  User:                            lw-apasillas




                          PDF REFERENCE #:            gwvyVRrtnY6X9knmGHUBQY

                                                                                                       Exhibit 11
                                                                                                               36
       Case 2:23-cv-05664-HDV-MAR Document 60 Filed 03/21/24 Page 49 of 59 Page ID #:478
 (=)   PY                felt                                                                                                                                                                                             Create Blog   Sign In




                                                 Reviews of Trader Joe's brand food products from people that are totally not affiliated with Trader Joe's.




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                          Monday, October 15, 2018                                                                                                                                            .

                                                                                                                                                       motors.                                       i
                          Trader Joe's Chocolate Salted Caramel Mug Mix                                                                                                                                         “
                                                                                                                                     AV                             ee
                                 PF
                                ve BLS ea
                                         ra             st   ae
                                                                             :
                                                                                 '                  "| didn't choose the mug
                                                                                           ‘life. The mug life chose
                                                                                                                                    you need
                                  on CHOCOLTE                            -                  ©  me." It's kinda true. This           for the ride
                                                                  ;                  roe            product has been out for
                                                    '                        i                      at least a month or so, I'm
                                                                                                                                    you love.
                                                                                                    pretty sure. It's not           @ eBay Guaranteed Fit
                                                                                                    particularly fall-ish. I'm
                                                                                                    just reviewing it by
                                                                                                _   default since we don't
                                                                                           as       have any spectacular new
                                                                                                    pumpkin things to check
                                                                                                    out and we're between
                                                                                                    TJ's runs at the moment
                                                                                                    in our household. But we
                                                                                                    do have a microwave and
                                                                                                    mugs, so chocolate salted
                                                                                                    caramel mug mix, here
                                                                                     CES. COM                                         157    Chevy    Convertible Body     package
                                                                                                    we come.                                          or tamkey car
                                                                                                                                                                                 -     1937 Plymouth Ocher



                          I'm a fan of substituting water with milk any time something cake or brownie-ish                                           $15,500                             $6,500
                          comes along. But in this case, | didn't have any milk on hand, so water it was. The
                          product still came out fairly rich and creamy, despite the absence of actual cow
                          juice. | guess there's a bit of condensed milk in the caramels, but you know what |
                          mean. No milk was added. | actually followed the instructions for once.
                                                                                                                                            COBRA     SHELBY    ALUMINUM

                                Discover related topics                                                                             HOWY      PANELS | AC
                                                                                                                                                 HOOD panel
                                                                                                                                                                A        $27 & INY(   1964 Mercury   Marauder




                                                                                                                                                      $850                             $11,500
                                Home Cooking Mug Cake


                                Caramels


                                Recipe


                                The Recipe


                                Cup of Joe
                                                                                                                                                             CX-90 - Choose Between Available
                                                                                                                                                             Second-Row Bench Seat or Second-
                                      motors

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                              to fit your ride,
                              every time.
                              iv) eBay Guaranteed Fit




Document title: What&#39;s Good at Trader Joe&#39;s?: Trader Joe&#39;s Chocolate Salted Caramel Mug Mix
Capture URL: https://www.whatsgoodattraderjoes.com/2018/10/trader-joes-chocolate-salted-caramel.html
Capture timestamp (UTC): Sun, 17 Mar 2024 16:36:57 GMT                                                                                                                                                                            Page 1 of 6

                                                                                                                                                                                                                    Exhibit 11
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                                                         ———
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                            to fit your ride,
                            every time.
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                                    a
                                                                                                                               Tweet this page!




                          First impressions: I'm really surprised at how easy the product was to make. If |                    Ranking Roll Call
                          had been handed a dessert like this at a fancy restaurant, I'd have marveled at
                          what wizardry might have been responsible for getting actual salted caramel into
                          the middle of a brownie in the middle of a coffee mug. | never would have
                          guessed in a million years that it could be as simple as plopping two unwrapped
                          caramels into the mix during a 40 second microwaving process. And yet that's it.
                          Stir water into the mix, heat, drop caramels, heat again. Done.




                                                                                                                                                    motors
                                                                                                                                    122 million parts for
                                                                                                                                    your #1 ride-or-die.




                                                                             BWLATSGOODATTIADEUCES.COM
                                                                                                                               Products by Meal or Type


                          My foodie-hack prowess is responsible for the odd streaking marks on the sides of
                          the mug. I'm sure with a little patience and care, one could spiff the presentation
                          up a bit more than | did. Also, for some reason, the colors of the brownie turned                    e    Beverage:
                          out a bit redder in this picture than they appeared to my naked eye. Not sure                        e    Breakfast
                          what | can attribute that to. | either need to white balance my camera again or                      .
                          get my eyes checked or both. Or neither. It's not a big deal, is it?                                 e        Chicken and Turkey
                                                                                                                               .                time          a   auce
                          Flavor-wise, this product is quite sweet. I've                            —                          e Dairy Free
                          mentioned many times before that | do have a sweet           Nutrition                    Facts|          a .
                          tooth, but I'm craving sugary stuff less and lessinmy        Joris item                              °    ne
                          old age. This, surprisingly, was one of the most                    oe = —                           sess
                          cloyingly sweet items from Trader Joe's in recent                 .     APA 94n                      sors
                          memory. There's a bit of richness to the chocolate,        Calories                 350       i 0    °        Gl                ‘
                          and you can definitely taste the sea salt of the            Total Fat                     %     1    e Grains, Breads & Cereal:
                          salted caramel, but the dominant essence was very                   :                 =         *    .
                          sweet to my tongue. We've seen the F         de Sel          ceuecee                  i.        ne   e Lunch
                           Caramel on this blog once or twice before, andit'sa         TotalCare.       72;     MBM AEDST      e        Micre                 2
                          quality product for sure, but it is quite sweet, as          fates —          a       is         a   ©             Oreani
                          well as salty and creamy. This time, it comes in the         a       ay               we       rf    e             Other Meat
                          form of cellophane-wrapped, bite-size chewy                       Ee
                          candies—four of them, two for each of the two                   :                                        oo
                          suggested servings. | should also note that there are                                                .        -
                          two individual packages for the cake mix, too. All                                                   *        seatood
                          the measuring is already done for you.                                                               *          side

                          The flavors of the brownie and caramel come                                                          .
                          together nicely, despite the sweetness. | can't                                                      .
                          complain about this product too much in the end.              oT             ee     ees              °         Veggie
                          It's very convenient and fun to make. The texture is                      mleiareins
                          everything you'd want and expect from a fresh-made
                          brownie filled with gooey caramel, and the price is
                          right at $1.99. | probably wouldn't purchase again just because it's rare | crave
                          chocolate and salted caramel these days, but if you do, this would definitely be a
                          product you should reach for.

                          Bottom line: 7.5 out of 10.




Document title: What&#39;s Good at Trader Joe&#39;s?: Trader Joe&#39;s Chocolate Salted Caramel Mug Mix
Capture URL: https://www.whatsgoodattraderjoes.com/2018/10/trader-joes-chocolate-salted-caramel.html
Capture timestamp (UTC): Sun, 17 Mar 2024 16:36:57 GMT                                                                                                                            Page 2 of 6

                                                                                                                                                                         Exhibit 11
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    Case 2:23-cv-05664-HDV-MAR Document 60 Filed 03/21/24 Page 51 of 59 Page ID #:480
                          everything you'd want and expect trom a tresh-made
                          brownie filled with gooey caramel, and the price is
                          right at $1.99. | probably wouldn't purchase again just because it's rare | crave
                          chocolate and salted caramel these days, but if you do, this would definitely be a
                          product you should reach for.

                          Bottom line: 7.5 out of 10.




                           Posted by Nathan Rodgers at                     De)       OM         Ei     7)

                           Labels:




                          5 comments:




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                                                                                                                                                      Guaranteed to fit
                                                                                                                                                      your ride, every time.




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                          ©          | hope they do a funfetti flavor next. Birthday cake flavor!
                                                                                                                                                 Followers




                                        my     Birthday cake mug e mix would be awesome!




                                                                                                                                                 Blog Archive

                                                                                                                                                 >              (33)
                                                                                                                                                 I              (161)

                                                                                                                                                 >              (144)
                                                                                                                                                 b              (144)

                                                                                                                                                 I              (152)

                          ©                                                    .                      .      .                  .           .    be             (150)
                                     There   are   tons   of mug    cake   recipes    out   there    (including   some   semi       terrifying
                                     “healthy” ones) which         are probably a good       alternative for anyone worried             about    v              (156)
                                     that 45g sugar (?!)                                                                                              >                  (12)
                                     l’ll probably stick to straight up chocolate for my treat calories                                               ~                  £421




Document title: What&#39;s Good at Trader Joe&#39;s?: Trader Joe&#39;s Chocolate Salted Caramel Mug Mix
Capture URL: https://www.whatsgoodattraderjoes.com/2018/10/trader-joes-chocolate-salted-caramel.html
Capture timestamp (UTC): Sun, 17 Mar 2024 16:36:57 GMT                                                                                                                                   Page 3 of 6

                                                                                                                                                                                Exhibit 11
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                           Exhibit 12
Case 2:23-cv-05664-HDV-MAR Document 60 Filed 03/21/24 Page 53 of 59 Page ID #:482



                           Why Is This $2.99 Tote Bag Causing Chaos?
                                                     The New York Times
                                             March 5, 2024 Tuesday 13:32 EST


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Section: STYLE
Length: 707 words
Byline: Madison Malone Kircher Madison Malone Kircher is a Times reporter covering internet culture.
Highlight: It’s tiny. It’s cheap. Trader Joe’s stores can’t seem to keep them on shelves.

Body


It’s tiny. It’s cheap. Trader Joe’s stores can’t seem to keep them on shelves.

Thaddeus Yan went to Trader Joe’s more than a dozen times last week, but he wasn’t there for groceries. Mr. Yan,
a 23-year-old lifestyle content creator in Los Angeles, was searching for a tote bag.

Not just any tote bag, though. Trader Joe’s new miniature tote bag, a version of its standard canvas bag that is just
large enough to fit your lunch, a water bottle and a few sundries. The mini tote is sold in four colors — blue, red,
yellow and green — and Mr. Yan was determined to own them all.

Priced at a modest $2.99, the limited-edition bag has become a hit on social media. Mr. Yan, a self-described
Trader Joe’s super fan, was one of many TikTok users to document their hunts for the item, which has become
increasingly hard to find.

Mr. Yan first learned about the tote bags from the Instagram account @traderjoeslist, which is devoted to all things
related to the store. (It is not run by Trader Joe’s but by another fan of the company.)

“It’s a cute little item. It’s cheap. I feel like it’s very fitting for my generation, which is Gen Z,” Mr. Yan said. “I heard
that they were extremely limited edition and this would be, like, a onetime drop.”

He visited seven stores last week before finding one that had the bag. The first was the Trader Joe’s location where
he usually shops, where an employee told him the bag had already sold out and to check back later in the week. At
another shop, he was told that people had begun lining up at 7:30 a.m., well before the store opened. He struck out
there, too.

An employee at the eighth store he called told him it had a few bags left, but that they were flying off the shelves
and he should hurry.

“There were so many people surrounding the display, and they were grabbing them so fast,” Mr. Yan said of the
scene when he arrived. “I took all the ones I could get.” He bought four for himself and one for a friend.

According to some TikTok users, certain stores have placed a limit on the number of totes customers can purchase.
Trader Joe’s did not respond to requests for comment.

Erin Kurland, an employee at a Trader Joe’s in Denver, said the tote bags had caused a “craze.”

Ms. Kurland said that, while working a recent shift, a customer at her store purchased 10 bags. The customer was
in Denver for a work trip and was worried the totes would sell out before being able to buy some at home.


                                                                                                              Exhibit 12
                                                                                                                      40
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                                                                                                         Page 2 of 2
                                    Why Is This $2.99 Tote Bag Causing Chaos?

“She made sure to go out of her way on a work conference to come get these totes,” Ms. Kurland, 29, said.

While Ms. Kurland said her Trader Joe’s location had otherwise been relatively calm, on TikTok some shoppers
have posted videos of throngs of people emptying store displays.

Elinor Kim, 22, and her sister struck out at the first store they visited this week. When they arrived at a second, a
line was already forming. Ms. Kim, a 22-year-old college student in Chino Hills, Calif., recorded the scene and
posted the video on TikTok, calling the experience “scary.” She also bought seven bags, some of which she gave to
friends and family.

“I wasn’t really sure what I was going to use it for, but I felt like with everyone grabbing, it made me want to get it,
too,” she said of the tote, which has already begun to appear on resale sites like eBay and Depop at a significant
markup, with some priced as high as $20.

The tiny Trader Joe’s bag is the latest in a series of totes that have had brushes with internet fame. In 2022, L.L.
Bean’s classic Boat and Tote bag got a modern upgrade when people began having the style monogrammed with
ironic words and phrases. (Think “Prada” and “emotional baggage.”) After the grocery-delivery company Fresh
Direct stopped taking back its bags during the pandemic, some people started turning them into wearable works of
art. And earlier this year, the lifestyle influencer Emily Mariko drew criticism after she began selling an extra-large
tote for $120. (It sold out almost immediately.)

But not everyone has fallen for Trader Joe’s latest riff on the classic canvas tote.

“Y’all are tweaking over a grocery bag,” Olivia Akinfe, 22, said in a TikTok video.

PHOTO: The limited-edition bag is a social-media hit. (PHOTOGRAPH BY THADDEUS YAN) This article appeared
in print on page ST9.


Load-Date: March 10, 2024


  End of Document




                                                                                                        Exhibit 12
                                                                                                                41
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                           Exhibit 13
Case 2:23-cv-05664-HDV-MAR Document 60 Filed 03/21/24 Page 56 of 59 Page ID #:485


                                                                                A Page Vault
  Document title:                  (5) Trader Joe's United on X: "Our union merch is finally here! Thank you to
                                   everyone who's been dming us about it and patiently waiting for TJU swag to
                                   become a reality. Shirts, buttons, totes, mugs, all right here: https://t.co/9Ceg2QtY1L
                                   https://t.co/kSBi1dwGNG" / X

  Capture URL:                     https://twitter.com/TraderJoesUnite/status/1672280062777864201

  Page loaded at (UTC):            Sun, 17 Mar 2024 16:18:30 GMT

  Capture timestamp (UTC):         Sun, 17 Mar 2024 16:19:17 GMT

  Capture tool:                    10.44.1

  Collection server IP:            54.157.181.49

  Browser engine:                  Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like
                                   Gecko) Chrome/120.0.6099.276 Safari/537.36

  Operating system:                Windows_NT (Node 18.18.2)

  PDF length:                      4

  Capture ID:                      5nNjzjpvikyoDA7fath8Dn

  User:                            lw-apasillas




                          PDF REFERENCE #:             j9Brqqp6dU2d4ooLZP5HMM

                                                                                                            Exhibit 13
                                                                                                                    42
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                                          Trader Joe's United                                                         ese
                                          @TraderJoesUnite                                                                  Relevant people


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                                 Our union merch is finally here! Thank you to everyone who's been dming
              @orxzk             us about it and patiently waiting for JU swag to become a reality.
                                                                                                                                     Trader Joe's United
                                                                                                                                      @TraderJoesUnite                       c&
                                                                                                                                     Independent labor union of Trader Joe's
                                 Shirts, buttons, totes, mugs, all right here:                                                       workers. We can help you organize your
                                 store.traderjoesunited.org                                                                          store! #thecrewunited



                                                                                                                            What's happening

                                                                                                                            Wizards at Bulls
                                                                                                                            NBA - Last night




                                                                                                                            Sports - Trending                                        eee
                                                                                                                            #MUNLIV
                                                                                                                            Trending with #FACup, #FACup


                                                                                                                            Food - Trending                                          eee
                                                                                                                            #BoycottPlanetFitness
                                                                                                                            13.8K posts

                                                                                                                            Trending in United States                                eee
                                                                                                                            #|StandWithCatherine
                                                                                                                            31.6K posts


                                                                                                                            Politics - Trending                                      eee
                                                                                                                            #bloodbath
                                                                                                                            22.3K posts

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                                 s        Post your reply


                                     i)   STHannigan @sthannigan - Jun 23, 2023                                       oe
                                 X        Ordering. Can't wait to throw that TJ’s United bag over my shoulder and walk
                                          past the Hadley managers




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                  3                       Hell yeah!! We can't wait to see it :)

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